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 7
                               UNITED STATES DISTRICT COURT
 8
                            SOUTHERN DISTRICT OF CALIFORNIA
 9
                               (HONORABLE DANA M. SABRAW)
10

11
      UNITED STATES OF AMERICA,                     )   Case No.: 19CR0581-DMS
12                                                  )
                                                    )
13                              Plaintiff,          )
                                                    )
14          vs.                                     )   ORDER CONTINUING DEFENDANT'S
                                                    )   SELF SURRENDER DATE AND TO SET
15 ADRIAN CAMPOS,                                   )   BOND EXONERATION HEARING
                                                    )
16                                                  )
                              Defendants.           )
17                                                  )
                                                    )
18                                                  )
                                                    )
19                                                  )
20
            IT IS HEREBY ORDERED that the self surrender date of Adrian Campos be
21
      continued from Friday January 15, 2021 to April 9, 2021. It is also ordered that the Bond
22
      Exoneration Hearing be continued from Friday January 22, 2021 at 9:00 a.m. to April 16,
23

24 2021 at 9:00 a.m.

25
      DATED: 1/15/2021
26
      So Ordered.
27                                             _______________________________
28                                             THE HONORABLE DANA M. SABRAW
                                               District Court Judge

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